                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                              Case No. 01-CR-7

LARRY D. ALLEN, JR.
                Defendant.


                                        ORDER

       Defendant Larry Allen, Jr. has filed a “Motion for Modification/Reduction of

Sentence” based on United States v. Booker. He provides no jurisdictional basis for the

motion. Courts generally lack authority to reduce or modify a sentence long after it was

imposed. See United States v. Zingsheim, 384 F.3d 867, 871 (7th Cir. 2004). Therefore,

the motion must be dismissed for lack of jurisdiction. Alternatively, the motion must be

denied because Booker does not apply retroactively to sentences such as Allen’s that

became final prior to January 12, 2005. McReynolds v. United States, 397 F.3d 479, 481

(7th Cir. 2005).

       THEREFORE, IT IS ORDERED that the motion (Docket # 76) is DISMISSED.

Alternatively, the motion is DENIED.1

       Dated at Milwaukee, Wisconsin, this 3rd day of June, 2005.
                                       /s Lynn Adelman
                                       ________________________________________
                                       LYNN ADELMAN
                                       District Judge


       1
        Allen recently filed a § 2255 action, Case No. 04-C-1155, which I dismissed by
order of today’s date. I afforded him an opportunity to amend his § 2255 motion to include
the Booker claim but he failed to do so.


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